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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                                    CASE NO. 20-80985-CIV-DIMITROULEAS

 KAWA ORTHODONTICS LLP, a Florida
 limited liability partnership, individually and
 as the representative of a class of similarly
 situated persons,

        Plaintiffs,

 vs.

 MEDXCOM LLC, a Delaware limited
 liability company, and GIFFEN
 SOLUTIONS, INC., a Delaware
 corporation,

       Defendants.
 ___________________________________/

                      ORDER APPROVING VOLUNTARY DISMISSAL

        THIS CAUSE is before the Court upon Plaintiff’s Notice of Voluntary Dismissal (the

 “Notice”) [DE 8], filed herein on September 3, 2020. The Court has carefully reviewed the

 Notice and is otherwise fully advised in the premises.

        Accordingly, it is ORDERED AND ADJUDGED as follows:

        1. The Notice [DE 8] is hereby APPROVED.

        2. This case is DISMISSED with prejudice, and class claims are dismissed without

            prejudice.

        3. The Clerk is directed to CLOSE this case and DENY any pending motions as moot.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida on

 this 3rd day of September, 2020.
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 Copies furnished to:
 Counsel of Record
